Submitted Under a Request for Confidentiality by FCA US LLC
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FCA

FIAT CHRYSLER AUTOMOBILES

PM&P/LMA

 

Joint Programs Funding

september xx, 2015
PM&P
UNPUBLISHED LE
Joint Proar Fundi
NUP-xxx
International Union, UAW

Attention: Mr. Norwood H. Jewell

Aforementioned, in Memoranda M-9, Section IV. A. Funds of the P, M &P, the parties agreed
that the Joint Activities Board will establish and approve an annual budget based on the
circumstances that exist at the time of budget preparation.

 

 

= The diferenes need above, will accumulate ¢ over the term of the 2015 agreement. The
liability balance may be utilized to cover the following:
= Justifiable expenditures not included in the annual budget. These expenditures
would require mutual agreement between the Vice President of Employee
Relations of FCA US LLC and Vice President and Director of the Chrysler

 

 

 

Department of the UAW and will be submitted to the Chief Financial Officer of
FCA US LLC

® Annual deficits where actual expenditures exceed budget

. her n expiration of the 2015 agreement, 25% of remaining liabili

 

balance would be carried forward to the next agreement
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0 Dé | Mb 8/3/15
B

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$ Millions Yrt Yr2 Yr3  Yré
Budget $ 37.0 3 33.5 $ 320 $ 30.0
Actual Expenditures 37.0 34.0 32.0 30.0
Surplus / (Deficit) $ - § (0.5) $ - §$ -
Formula calculates $ 510 3 460 $3 420 $3 28.0
Actual Expenditures 37.0 34.0 32.0 30.0
Surplus / (Deficit) $ 14.0 $ 12.0 $ 10.0 $ (2.0)
25% of Surplus $ 3.5 $ 30 $ 2.5
Liability -BeginningofYear $$ - $ 35 $ 60 $5 65
25% of Surplus —__ a 3.0 2.5 -
Application to Deficit - - -— (2.0)
ifiable expenditures - (0.5) - -
Liability - End of Year $ 3.5 $ 6.0 §$ 8.5 $ 6.5
f31, 2015. the initial liability on th any's books will 9

difference between fiscal year 2015 actual expenditures and the amount calculated using the

formula.

 

* The formula will be utilized to calculate the amount to be compared to actual expenditures

ears coats ore] abana:

. Nineteen cents (19¢) per hour worked

 

(5%) of straight time hours worked (caleulated on ual ocae rolling average} in
accordance with the following incremental table:

Overtime hours as Percent of Straight Time Hours Additional Amount Per Hour

 

 

 

 

 

 

 

 

 

5% orless _ $0.00
Greater than 5% thru 12% 1.25
Greater than 12% thru 13% 1,50
Greater than 13% thru 14% = as 2,00

Greater than 14% thn 15% 2.50
Greater than 15% thru 16% 3.00 f
Greater than 16% thru 17% 3.50 Mt
Greater than 17% thru 18% 4.00 4
Greater than 18% thm 19% 4.50
Greater than 19% 5.00

 

me B/3/15

 

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CHRYSLER, LLC

ING 5345 NG. .

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